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An    applicant   for an original       driver license       identification      card     or election                     identification   card    must present

acceptable      proof   of identity through          one of the following methods




       Any 1                     ity   docu

       Any 2                      ntity   do                  OR
       1   secondary + 2         Dorting      ides




If   multiple   documents       are    used to prove identity          the   name on each document                                  must match exactly     If   it



does not the applicant           must present documentation                  verifying                       a legal    name change



Renewal        or replacement




If   an applicant seeks     a   renewal or replacement              driver license                identification             card    or election


identification     card only     1    primary secondary            or identity    document                         is   required



                            Relevant      statutes

                            TEx TRANSP CODE             ANN §521141          General Application                            Requirements

                            TEx TRANSP CODE             ANN §521142 Application for Original License
                            TEx TRANSP CODE             ANN §5211425 Information Required to Be Furnished to
                                 Department



                            Relevant      rules

                            37 TEXAS ADMIN           CODE    §1524      Identification                        of Applicants


                            37 TEXAS ADMIN           CODE    §1530      Identification                        Certificates


                            37 TEXAS ADMIN           CODE    §15182      Identification                         of Applicants       EICs



                            Other forms

                                 Application         for Texas     Driver License       or Identification                      Card DL14A

                                 Application         for Texas     Election Certificate                        DL14C
                                 Application         for RenewalReplacementChange                                        of a Texas Driver License or

                                 Identification         Card DL43



                            Links

                            Application       Process       Policy document


                            Establishing       Social    Security    Number

                            Establishing       US Citizenship

                            Establishing       Lawful     Presence

                            Establishing       Texas Residency




                                                                 2:13-cv-193
                                                                                        exhibitsticker.com




                                                                 09/02/2014
Application       Process                                                                                                                           Page 1 of 47
                                                               DEF1465


                                                                                                                                                                     TEX0507506
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      N570
An   applicant    may establish        his   or her identity        by presenting      1   of the   primary identity documents         from

the following      list




      Photo Texas driver license or identification                      card current   or expired       within the    last   2 years


      Unexpired      US passport book             or card


      US Certificate      of Citizenship        or Certificate      of Naturalization       N560 N561 N645 N550 N55G
             N578
      Unexpired      US Department           of   Homeland         Security or Citizenship          and Immigration Services       document

      with   1   verifiable    data +       2   identifiable       photo such as

             o   US Citizen Identification           Card 1179 or 1197

             o   Permanent       Resident Card 1551

             o   Foreign    passport        with attached temporary 1551 immigrant visa endorsed with ADIT stamp

             o   Temporary       Resident Identification                Card 1688

             o   Employment        Authorization            Card 1766

             o   US Travel     Document 1327                or   1571
             o   Advance      Parole   Document 1512 or I512L

             o   194 stamped       §208 Asylee

             o   194 stamped       §207      Refugee

             o   Refugee      Travel   Letter      stamped        by Customs and Border Protection

             o   American Indian Card 1872

             o   Northern      Mariana Card 1873

      Unexpired      US military identification             card for active      duty reserve or retired personnel

      1   Foreign passport        valid      or expired          with   attached visa +     2 one     of the following acceptable


      versions    of a Form     194

             o   Traditional     paper Form 194

             o   Unexpired foreign           passport       with an 194 stamp

             o   Form 1797 with 194 printed                  at the     bottom

             o   Form 194 downloaded                from the                                                                     A CSR may

                 access    this site   and print the form for the applicant




                            ncicvaI    IL   J6aLtLca

                            TEX TRANSP CODE            ANN §521141             General Application        Requirements

                            TEX TRANSP CODE            ANN §521142             Application     for Original    License

                            TEX TRANSP CODE            ANN §5211425              Information        Required   to   Be Furnished to

                                  Department



                            Relevant        rules

                            37 TEXAS ADMIN           CODE        §1524     Identification    of Applicants




                            Other forms

                                 Application         for Texas      Driver License     or Identification       Card DL14A




Application      Process                                                                                                           Page 2 of 47




                                                                                                                                                  TEX0507507
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                                       Application       for Texas   Election Certificate         DL14C
                                       Application       for RenewalReplacementChange                      of a Texas Driver License or

                                       Identification      Card DL43




                                          e CBP    lin       wwwcbpgov194
                                          plicatior                                      nt


                            Establishing           Identity


                            Secondary Identity               Documents

                            Supporting            Identity    Documents




            7 Cor r r             ri     rxi     Irlontitii        flnri    imontc


An   applicant   may establish             his   or her identity     by presenting        any 2 of the secondary               identity documents

from the following         list




      Original or certified            copy of a birth certificate         issued   by   a    State    Bureau of Vital        Statistics   or

      equivalent    agency         from a US state US territory the                 District    of Columbia          or a   Canadian province

      For   US citizens born abroad                 Certificate    of Report of Birth          DS1350        or   FS545 or Consular Report of
      Birth   FS240 issued by the US Department                        of State


      Original or certified            copy of a court order with name and date of birth indicating                             a   name andor
      gender change        from a US state US territory the                   District       of Columbia      or a    Canadian province




                            TEx TRANSP CODE               ANN §521141          General Application                Requirements

                            TEx TRANSP CODE               ANN §521142          Application            for Original    License

                            TEx TRANSP CODE               ANN §5211425            Information           Required     to     Be Furnished to

                                       Department



                            Relevant           rules

                            37 TEXAS ADMIN               CODE    §1524     Identification        of Applicants




                            Other forms

                                       Application       for Texas   Driver License       or Identification          Card DL14A

                                       Application       for Texas   Election Certificate         DL14C
                                       Application       for RenewalReplacementChange                      of a Texas Driver License or

                                       Identification      Card DL43



                            Links

                            Application           Process       Policy document


                            Establishing           Identity


                            Primary Identity              Documents




Application      Process                                                                                                                   Page 3 of 47




                                                                                                                                                          TEX0507508
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                              TAG Certificate               of Birth       Abroad




An   applicant      may establish          his   or her identity            by presenting      any 1                                                        AND

2 supporting        identity documents                from the following list




      Social    Security     card

      Form     W2 or 1099
      Driver      license or identification            ID card             issued   by another      US state                         the   District    of

      Columbia or Canadian province unexpired or expired                                     less   than two years

      Texas driver license or ID card that has been                               expired   for more   than two years

      Temporary        Texas       driver license or ID card

      School      records      eg       cards photo
                                       report                                ID   cards

      Military     records     eg Form DD214
      Unexpired       US military dependent                   ID card


      Original or certified          copy    of marriage              license or divorce      decree if        the   document       is   not   in   English   the

      applicant      must provide a certified                 translation

      Voter registration           card
      Pilot    license

      Concealed handgun license

      Professional        license    issued      by    a   Texas state agency

      ID   card   issued    by a government                agency
      Consular document              issued      by   a    state or national          government

      Texas Inmate         ID card     or similar form of ID issued                   by the Texas Department            of Criminal Justice


      Texas Department              of Criminal Justice parole or                   mandatory       release certificate

      Federal      inmate identification              card

      Federal parole or release certificate

      Medicare       or   Medicaid card

      Selective Service        card

      Tribal    membership          card   from

      Certificate     of Degree        of Indian          Blood

      Unexpired foreign             passport

      Unexpired       insurance        policy valid for the                past   two years   eg auto home              or   life   insurance

      Current Texas vehicle registration                      or   title


      Current Texas         boat registration              or title

      Veterans ID card issued by the US Department                                  of Veterans      Affairs


      Hospitalissued          birth    record

      NUMIDENT         record       from the Social            Security Administration

      NUMIlite            letter   from the Social Security Administration

      Social    Security     Number SSNAP
      Immunization          records


Application        Process                                                                                                                          Page 4 of 47




                                                                                                                                                                    TEX0507509
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This document              is   acceptable       if   issued    by an institution       entity or government         from a US state         a   US

territory      the    District    of   Columbia or a Canadian province



                                 Keievant     statutes

                                 TEx TRANSP CODE           ANN §521141               General Application       Requirements

                                 TEX TRANSP CODE           ANN §521142               Application    for Original    License

                                 TEx TRANSP CODE           ANN §5211425               Information     Required      to   Be Furnished to

                                       Department



                                 Relevant     rules

                                 37 TEXAS ADMIN           CODE     §1524         Identification    of Applicants




                                 Other forms

                                       Application       for Texas       Driver License     or Identification      Card DL14A

                                       Application       for Texas       Election Certificate      DL14C
                                       Application       for RenewalReplacementChange                      of a Texas Driver License or

                                       Identification       Card DL43



                                 Links

                                 httpwwwusagovCitizenTopicsTravelTourismStateTourismshtm                                               I   Establishi ng


                                 httpwwwbiagovWhoWeAreBIAOISTri                                    balGovernmentServicesTri            balDirectory


                                 Identity

                                 Application          Process    Policy document


                                 Primary     Identity      Documents




B             Establishing Social                               Security            Number

Original driver license identification                     card or election          identification    card




An   applicant       may establish         his     or her Social       Security    number by presenting one of the following

documents            An    applicant     for an       ID or EIC   is   not required     to provide    a   Social   Security   number



      Social    Security        card

      Pilot    license

      Military       identification      active         reserve or      dependent       status

      Texas Commission on Law Enforcement                              Officer    Standard and Education TCLEOSE peace                     officer

      license

      DD214
      Medicare        or   Medicaid card

      Health insurance            card

      Certified      college or university             transcript

      IRS form       W2 Wage and Tax Statement

Application       Process                                                                                                                  Page 5 of 47




                                                                                                                                                           TEX0507510
     Case 2:13-cv-00193 Document 775-28 Filed on 11/19/14 in TXSD Page 6 of 47




       Form 1099MISC

       Pay stub if   it   includes the applicants         name and     Social     Security      number


If   the applicant   has    not been   issued or does not          have   a   Social   Security     number     at the time of an original

driver license     application      he or she may submit a completed                   Social Security Affidavit         DL13 instead




Renewal     driver license      identification      card or election identification              card




An    applicant   for a   renewal   DL    IDor    EIC   may verbally      provide      the Social   Security    number       If   the   number

does not match the number on               file   he or she must present proof of the number                     as   though applying for

an original DL ID or EIC         An applicant       for a   renewal    ID or EIC       is   not required    to provide   a   Social     Security

number




                            TEX TRANSP CODE         ANN §521044            Use or Disclosure of Social           Security    Number
                                Information

                            TEX TRANSP CODE         ANN §521141            General Application          Requirements
                            TEx TRANSP CODE         ANN §521142            Application        for Original    License

                            TEx TRANSP CODE         ANN §5211425              Information       Required to Be Furnished to

                                Department



                            Relevant     rules

                            37 TEXAS ADMIN        CODE    §1524      Identification         of Applicants


                            37 TEXAS ADMIN        CODE    §1530      Identification         Certificates


                            37 TEXAS ADMIN        CODE    §1542      Social    Security       Number
                            37 TEXAS ADMIN        CODE    §15182       Identification         of Applicants     EICs



                            Other forms

                                Application       for Texas   Driver License        or Identification        Card DL14A

                                Application       for Texas   Election Certificate           DL14C
                                Application       for RenewalReplacementChange                      of a Texas Driver License or

                                Identification      Card DL43



                            Links

                            Application    Process       Policy document


                            Establishing    Identity


                            Primary Identity       Documents

                            Secondary Identity          Documents

                            Supporting     Identity     Documents

                            Establishing    US Citizenship

                            Establishing    Lawful      Presence

                            Establishing    Texas Residency




Application       Process                                                                                                          Page 6 of 47




                                                                                                                                                   TEX0507511
     Case 2:13-cv-00193 Document 775-28 Filed on 11/19/14 in TXSD Page 7 of 47




      N570
An                  may establish US citizenship by presenting one of the following documents                        for verification




      I179
     applicant


through       the   US Department        of   Homeland      Security




      US passport book or card

      Birth certificate       issued   by a US state US territory or District of Columbia

      For   US citizens born abroad            Certificate     of Report of Birth       DS1350   or    FS545 or Consular Report of
      Birth    FS240 issued by the US Department                    of State

      US Certificate       of Citizenship     or Certificate    of Naturalization       N560 N561 N645 N550 N55G
              or    N578
      US Department           of Justice   Immigration and          Naturalization   Service   US Citizen ID Card Form 1197        or




                              TEx TRANSP CODE           ANN §521141        General Application        Requirements

                              TEX TRANSP CODE           ANN §521142        Application    for Original    License

                              TEx TRANSP CODE           ANN §5211425           Information   Required to Be Furnished to

                                  Department



                              Relevant     rules

                              37 TEXAS ADMIN       CODE    §1524       Identification    of Applicants


                              37 TEXAS ADMIN       CODE    §1530       Identification    Certificates


                              37 TEXAS ADMIN       CODE    §15182       Identification    of Applicants    EICs



                              Other forms

                                  Application      for Texas    Driver License     or Identification     Card DL14A

                                  Application      for Texas    Election Certificate     DL14C



                                       ould   we link to an example        of any of these     documents

                                       plication   Process     Policy document


                                       shing Identity


                              Primary Identity      Documents

                              Secondary Identity         Documents

                              Supporting      Identity    Documents

                              Establishing     Social    Security   Number

                              Establishing     Lawful    Presence

                              Establishing     Texas Residency



                              TAG Certificate      of Birth    Abroad




Application         Process                                                                                               Page 7 of 47




                                                                                                                                         TEX0507512
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A nonUS        citizen    must prove lawful presence           in   the    United States       in    order to complete        many
transactions




US nationals permanent residents refugees and                          asylees




A nonUS        citizen    applicant   may establish        lawful   presence    in    the   United States         by presenting one of the

following      documents      for verification     through     the    US Department           of     Homeland      Security




       US passport stating          THE BEARER        IS   A UNITED STATES NATIONAL                    AND NOT A UNITED STATES
       CITIZEN on the        last   page

       Permanent         Resident Card Form 1551

       Foreign    passport    with attached temporary 1551 immigrant visa endorsed with ADIT stamp

       Passport or       194 stamped Approved              1551

       Passport or       194 stamped Processed             for 1551

       Permit to Reenter the US Form               327
       194 or passport with annotation             Section      207 or refugee

       Refugee    Travel    Document Form 1571

       1688B    coded     274a12a3
       1766 with category A3 or A03

       194 or passport with annotation             Section      208 or asylee
       1688B    coded     274a12a5
       1766 with category AS or A05

       Refugee    Travel    Letter    with photo stamped            by Customs and Border Protection




Limited term license



A temporary visitor may be issued a                                                                 or identification     card   which    will   lapse

on the expiration         date of the applicants lawful presence                 in   the   US as determined by the US Department

of    Homeland     Security




All   documentation         must show the          applicants       name and date            of     birth   The    applicant     must validate       a


name change         or    other inconsistent       information        through     additional          documentation        such    as a   marriage

license     divorce       decree      or   court   order       The    department            must      verify   applicable        lawful   presence

documentation            through    the    US Department       of    Homeland         Securitys       DHS Systematic Alien Verification
for Entitlements          SAVE Program

                             Relevant      statutes

                             TFY    TRONCP    CnnF ANN       6571    101     PPrcnniI       Irlantiflratinn    CPrtlflr    itP




Application      Process                                                                                                             Page 8 of 47




                                                                                                                                                         TEX0507513
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                            TEx TRANSP CODE            ANN §521142 Application for Original License
                            TEx TRANSP CODE            ANN §5211425 Information Required to Be Furnished to
                                Department
                            TEX TRANSP CODE            ANN §521271        License    Expiration




                            Relevant      rules

                            37 TEXAS ADMIN        CODE     §1524      Identification    of Applicants


                            37 TEXAS ADMIN        CODE     §1530      Identification    Certificates


                            37 TEXAS ADMIN        CODE     §1546      Citizenship    Status       and County of Residence




                            Other forms

                                Application       for Texas    Driver License    or Identification       Card DL14A



                            Links

                            Application     Process      Policy document

                            Whatever       we end up calling the        limited term      DL topic

                            Establishing      Identity


                            Primary Identity       Documents

                            Secondary Identity          Documents

                            Supporting      Identity     Documents

                            Establishing      Social    Security   Number

                            Establishing      US Citizenship

                            Establishing      Texas Residency




E          EstablishinLy              Texas Residency


An   applicant   for an original      driver license      DL or identification         card   ID must


1 Have       resided   in   Texas for at least 30 days prior to application               unless he or she surrenders a valid

      unexpired    outofstate         DL AND
2     Establish residency      by presenting           2 acceptable   documents        with the same address from different

      entities   containing    his   or   her

           Name AND

           Residential      address




An   applicant   who cannot         provide     2 acceptable       documents    to   prove    a   claim of residency   may instead

submit a completed




Examples of acceptable          documents         to establish      residency




Application      Process                                                                                                   Page 9 of 47




                                                                                                                                          TEX0507514
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    Current deed mortgage monthly mortgage statement                                  mortgage        payment    booklet    or residential

    rentallease    agreement

    Valid unexpired       Texas voter registration card

    Texas motor vehicle registration                or   title


    Texas boat registration or title

    Texas concealed       handgun license

    Electric   water     natural   gas    satellite       television       cable   television    or   noncellular telephone       statement

    dated within 90 days         of the application              date

    Selective Service     card

    Current homeowners or renters insurance policy or statement

    Current automobile insurance policy or statement

    Texas high school       college or university                report card    or transcript for the current        school   year

    W2 or 1099 tax form from the prior tax year
    Mail   from financial institutions on subjects such as checking                         savings     or   investment    accounts    or

    credit card   statements dated within 90 days of the application                             date

    Mail   from a federal     state      county or city government                  agency dated within 90 days of the

    application   date

    Current automobile payment                booklet

    Current documents         issued     by   the    US military indicating           residential     address

    Document from the Texas Department                           of Criminal Justice indicating         the applicants      recent   release or


    parole




    noncommercial
    Medical or health card

    Preprinted     paycheck      or   payment        stub dated within 90 days of the application                   date

    Current Form DS2019 120 or document                           issued   by the US Citizenship and Immigration services
                   DL and ID only




                         TEX TRANSP CODE            ANN §521101                Personal Identification        Certificate

                         TEX TRANSP CODE            ANN §521121               General Information on Drivers License

                         TEX TRANSP CODE            ANN §521141               General Application         Requirements

                         TEX TRANSP CODE            ANN §521142 Application for Original License
                         TEX TRANSP CODE            ANN §5211425 Information Required to Be Furnished to
                              Department

                         TEX TRANSP CODE            ANN §5211426                Domicile    Requirement Verification



                         Relevant      rules

                         37 TEXAS ADMIN         CODE         §1524      Identification     of Applicants


                         37 TEXAS ADMIN         CODE         §1525      Address

                         37 TEXAS ADMIN         CODE         §1530      Identification     Certificates


                         37 TEXAS ADMIN         CODE         §1546      Citizenship     Status    and County of Residence

                         37 TEXAS ADMIN         CODE         §1549      Proof of Domicile




                         Other forms

                              Application       for Texas          Driver License     or Identification       Card DL14A

                              Texas Residency              Affidavit    DL5


Application    Process                                                                                                         Page 10 of 47




                                                                                                                                                  TEX0507515
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                               Links

                               Application    Process        Policy document


                               Establishing      Identity


                               Primary Identity       Documents

                               Secondary Identity          Documents

                               Supporting     Identity      Documents

                               Establishing      Social    Security    Number

                               Establishing US Citizenship


                               Establishing      Lawful     Presence




F            Residency                 Affidavit


An    applicant   who cannot           provide    2 acceptable        documents        to   prove   a    claim of residency    may instead
submit




1 A Texas Residency Affidavit DL5 completed by the person                                           verifying      that the applicant   lives


       with him or her AND

2 Supporting documentation determined by                              the     relationship    between the applicant           and the person

       signing   the affidavit     affiant




Familial relationship




If   the applicant and affiant are related the affiant                       does not need     to   accompany        the applicant   to the

driver license        office   but the applicant          must present




       2   acceptable documents                                                             for the      affiant

       At least 1 document         establishing       the familial relationship             such    as

                  o     A marriage       license

                  o     A   birth certificate


                  o     A military dependent              identification      card or

                  o     Adoption       records AND

       The signed      DL5




Non familial relationship



If   the applicant and affiant are not related but                    live   at the   same residence




Application       Process                                                                                                         Page 11 of 47




                                                                                                                                                  TEX0507516
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       The affiant    must accompany the applicant                 to the driver license office              and present a valid Texas

       driver license     or identification      card

       The applicant      must present 2 acceptable documents                                                                     for the


       affiant    AND

       The applicant      must present the signed              DL5




Service organization




If   the applicant     resides with or receives             services   from a governmental             entity      nonprofit     organization

assisted care or        living   facility   homeless shelter transitional service provider                         or grouphalfway      house      a


representative        of the organization            may serve as affiant and does              not   need    to   accompany       the applicant


to the driver license office              The applicant       must present




       A notarized      letter   from the representative           certifying     the address and verifying               that   the organization


       receives     mail for     him or her     In   this   case the two documents              establishing        residency     are not required


       AND

       The signed     DL5


             Note




             A notarized DL5         is   acceptable    in lieu   of   a   notarized   letter




                             TEX TRANSP CODE           ANN §521101             Personal Identification             Certificate

                             TEX TRANSP CODE           ANN §521121             General Information on Drivers License

                             TEX TRANSP CODE           ANN §521141             General Application           Requirements

                             TEX TRANSP CODE           ANN §521142             Application      for Original        License

                             TEX TRANSP CODE           ANN §5211425             Information       Required         to   Be Furnished to

                                    Department

                             TEX TRANSP CODE           ANN §5211426             Domicile     Requirement Verification



                             Relevant       rules

                             37 TEXAS ADMIN           CODE    §1524        Identification    of Applicants


                             37 TEXAS ADMIN           CODE    §1525        Address

                             37 TEXAS ADMIN           CODE    §1530        Identification    Certificates


                             37 TEXAS ADMIN           CODE    §1546        Citizenship   Status       and County of Residence

                             37 TEXAS ADMIN           CODE    §1549        Proof of Domicile




                             Other forms

                                   Application       for Texas    Driver License       or Identification           Card DL14A

                                    Texas Residency          Affidavit     DL5


Application       Process                                                                                                            Page 12 of 47




                                                                                                                                                       TEX0507517
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                        Links

                        Application    Process     Policy document


                        Establishing   Identity


                        Primary Identity     Documents

                        Secondary Identity        Documents

                        Supporting     Identity    Documents

                        Establishing   Social     Security   Number

                        Establishing US Citizenship


                        Establishing   Lawful     Presence




G           Annlicatinn            Phvsical          Dpsrrintinn


An   application   for a driver license   identification     card   or election   identification    certificate   must include

an accurate   physical description     of the applicant      that   includes




     Race

     Eye color

     Height


     Sex

     Hair color


     Weight



                        Relevant   statutes

                        TEX TRANSP CODE         ANN §521101         Personal Identification        Certificate

                        TEx TRANSP CODE         ANN §521121         General Information on Drivers License

                        TEX TRANSP CODE         ANN §521141         General Application      Requirements

                        TEx TRANSP CODE         ANN §521142         Application    for Original    License

                        TEx TRANSP CODE         ANN §5211425          Information    Required      to   Be Furnished to

                             Department



                        Relevant   rules

                        37 TEXAS ADMIN      CODE    §1524      Identification     of Applicants


                        37 TEXAS ADMIN      CODE    §1530      Identification     Certificates


                        37 TEXAS ADMIN      CODE    §15182      Identification     of Applicants        EICs



                        Other forms

                            Application    for Texas     Driver License    or Identification       Card DL14A

                            Application    for Texas     Election Certificate     DL14C




Application   Process                                                                                               Page 13 of 47




                                                                                                                                    TEX0507518
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                            Application Address

                            Organ Donation

                            Voter Registration

                            Veteran Indicator

                            Application    Medical History

                            Application Signature

                            Application    Notarization


                            Application Taking        the   Oath




H             Application              Name

An    application    for a driver license    identification        card   or election   identification      certificate   must include

the   first    middle and    last   name of the applicant



      An applicant may not use an undocumented                     name
      All     names in the application     must match the names in the identity documents




Middle name




      If   the applicant    has   no middle name the applicant             may leave     the   middle     name blank

      If   the applicant    has   no middle name a maiden name                will   be used   if
                                                                                                    applicable

      An applicant may not substitute            a   middle   name for the first        name


Married        women


      A married woman may use her maiden name in place                         of her   middle name

      A married woman may use any of the following last names including                             a   hyphenated    name    if




      documented

              o   Maiden    name
              o   Surname of current husband            OR

              o   Surname of previous husband




                            TEX TRANSP CODE          ANN §521101          Personal Identification         Certificate

                            TEx TRANSP CODE          ANN §521121          General Information on Drivers License

                            TEX TRANSP CODE          ANN §521141          General Application           Requirements

                            TEx TRANSP CODE          ANN §521142          Application    for Original      License

                            TEx TRANSP CODE          ANN §5211425           Information    Required to Be Furnished to

                                    Department




Application       Process                                                                                                   Page 14 of 47




                                                                                                                                            TEX0507519
    Case 2:13-cv-00193 Document 775-28 Filed on 11/19/14 in TXSD Page 15 of 47




                            37 TEXAS ADMIN            CODE    §1523        Names
                            37 TExas ADMIN            CODE    §1524        Identification     of Applicants


                            37 TExas ADMIN            CODE    §1530        Identification     Certificates


                            37 TExas ADMIN            CODE    §15182        Identification      of Applicants          EICs



                            Other forms

                                   Application        for Texas    Driver License         or Identification         Card DL14A

                                   Application        for Texas Election Certificate           DL14C

                            LInKS

                            Application         Process      Policy document


                            Application          Physical    Description


                            Application Address

                            Organ Donation

                            Voter Registration

                            Veteran Indicator

                            Application          Medical History

                            Application Signature

                            Application          Notarization


                            Application Taking              the   Oath




1         Application                    Address


An   application    for a driver license           identification        card   or election    identification         certificate   must include   a


Texas    residence       address




     A business address may not be used                      as a residential      address

     The address must include the

     o    City


     o    State


     o    Zip    code

     o    Apartment number                if   applicable

     o    Any terms such           as   Street Circle Drive or Court               if   applicable




     Exceptions

     o    An    applicant    may provide          a   separate mailing address such as               a   post office      box

     o    An    applicant    for a      commercial       driver license         must provide a mailing address

     o    An    active    member of the armed forces may provide                          a residence     address outside of Texas

     o    A                     may use the address of the county courthouse                             in   his   or her   county of residence

          instead of a residence               address


Application      Process                                                                                                              Page 15 of 47




                                                                                                                                                       TEX0507520
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    o     A                                                                        may use a designated      post office     box

          address as the residence address

    o     A                               or a judges        spouse may elect to use the address of the courthouse                 in


          which the judge works as the residence address

    o     An             or                          should use an alternative        address




                          Relevant     statutes

                          TEX TRANSP CODE         ANN §521101          Personal Identification       Certificate

                          TEX TRANSP CODE         ANN §521121          General Information on Drivers License

                          TEX TRANSP CODE         ANN §521141          General Application      Requirements
                          TEX TRANSP CODE         ANN §521142          Application    for Original    License

                          TEX TRANSP CODE         ANN §5211425          Information     Required to Be Furnished to

                              Department



                          Relevant     rules

                          37 TEXAS ADMIN         CODE    §1524    Identification     of Applicants


                          37 TEXAS ADMIN         CODE    §1525    Address

                          37 TEXAS ADMIN         CODE    §1530    Identification     Certificates


                          37 TEXAS ADMIN         CODE    §15182    Identification     of Applicants    EICs



                          Other forms

                              Application        for Texas   Driver License   or Identification      Card DL14A

                              Application        for Texas   Election Certificate    DL14C

                          LinKs

                          Application    Process        Policy document


                          Establishing Texas Residency


                          Application     Physical       Description


                          Application     Name

                          Organ Donation

                          Voter Registration

                          Veteran Indicator

                          Application     Medical History

                          Application Signature

                          Application     Notarization


                          Application Taking         the   Oath




    1 Peace Officer Alternative Address

A peace   officer   commissioned        in the   state   who meets the qualifications        below     may use     the


                              in his   or her county       of residence as the residence        address on the face of       his   or




Application    Process                                                                                                   Page 16 of 47




                                                                                                                                         TEX0507521
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her driver license             DL andor identification                   card     ID      If   the officer   maintains    both a DL and ID the

Driver   License        System DLS           will    automatically             update both         but the officer      must either   1 pay both
applicable       fees or           2 surrender      the ID       rather       than updating        it




Qualifications               A peace     officer    seeking to qualify             for this     program      must



       Meet     all    normal requirements              to obtain         a    DL or ID

       Apply    in    person for an original renewal                      or    replacement        DL or ID    no online transactions
       Surrender        all    other DLs or IDs including those issued by another                              state

       Present        his   or her original        letter   or   pocket        card    license issued by       the Texas Commission      on Law

       Enforcement             Officer   Standards and            Education           TCLEOSE
       Present        his   or her                                                             and badge     issued   by the employing   agency    AND

       Provide the actual              current     residence          address for department records and mailing                  purposes



This   program         is    NOT available to



       Federal investigators              or officers       from adjoining             states    OR

       Commercial             driver   license     holders




Terms      If
                any of the following changes                     in   status     occur     the holder of a DL or ID under this program             must

apply for a       replacement            within     30 days




       Cessation of           employment as a peace                   officer


       Name change
       Residence            address change




           Note

                      This    is   an optional     program and            is   not related       to the




                                    Relevant     statutes

                                    TEX TRANSP CODE          ANN §521111                 Drivers License        for   Peace Officer



                                    Relevant     rules

                                    37 TEXAS ADMIN          CODE      §1525           Address




                                    Other forms

                                         Application        for Texas          Driver License      or Identification     Card DL14A

                                         Application        for RenewalReplacementChange                         of a   Texas Driver License or

                                         Identification       Card DL43




Application           Process                                                                                                            Page 17 of 47




                                                                                                                                                          TEX0507522
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                                              ampies of     I   LLLUSL     documentation

                                              plication    Process       Policy   document

                                              shing Texas        Residency

                                  Whatever         we end up calling the alias program                   topic

                                  Address Confidentiality Program

                                  Federal or State          Judge       Alternative    Address

                                  TDCJ       Inmate Address

                                  TJJD       Offender Address




             a Peace Officer Employing Agency Identification                                                                              Card

                  Reauirements


A                  peace      officer         commissioned         in   the state     may    use the                                                       in


his   or her    county      of residence as          the residence address on the face of                    his   or her driver license             DL
andor        identification        card       ID    One    of the qualifications            for this   program     is   presentation      of the

identification      card     issued          by the peace        officers    employing        agency      Each     such agency      issues     its   own

identification      card but            in   order to    satisfy   this    requirement         each of the following pieces               of information


must be displayed on the card




      Full   name of the peace                 officer


      Photograph           of the   peace        officer        consistent    with    his   or her appearance


      Name of the employing                     agency

      Signature        of a representative               of the   employing         agency     if   applicable


      Brief description           of the       peace officer        including       height weight        and eye color

      Thumbprint of the peace                    officer    or a bar code         with a    unique identification          label   such   as   the




      Employment            date and card issuance                 date

      247 operational              phone number to verify validity of the card

      The words state of Texas and the state seal

      The words this identification                      card    certifies   that   name       of officer   is   commissioned         by name of

      agency      as   a   full    or    parttime peace            officer




                                  rceievant       statutes

                                  TEX TRANSP CODE               ANN §521111           Drivers License        for   Peace Officer



                                  Relevant        rules

                                  37 TEXAS ADMIN           CODE     §1525         Address




                                  Other forms




Application       Process                                                                                                                      Page 18 of 47




                                                                                                                                                                TEX0507523
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                                   t   of county     courthouse        addresses

                                   amples of TCLEOSE            documentation

                                   plication       Process    Policy   document

                                   me explanation          of a TCLEOSE       PID


                                   Officer Alternative          Address




    2 Address Confidentiality Program

A victim    of family violence         sexual assault or stalking          may use a designated         post office   box address as the

residence     address on the face of         his   or her driver license       DL andor identification          card    ID       The

applicant    must present                                                                           to qualify for      this   program



                         Relevant        statutes

                         TEX TRANSP CODE            ANN §521101             Personal Identification       Certificate

                         TEx TRANSP CODE            ANN §521121            General Information on Drivers License

                         TEX TRANSP CODE            ANN §521141            General Application      Requirements

                         TEx TRANSP CODE            ANN §521142            Application    for Original     License

                         TEx TRANSP CODE            ANN §5211425             Information     Required to Be Furnished to

                                Department



                         Relevant        rules

                         37 TEXAS ADMIN            CODE    §1524       Identification    of Applicants


                         37 TEXAS ADMIN            CODE    §1525       Address

                         37 TEXAS ADMIN            CODE    §1530       Identification    Certificates




                         Other forms

                                Application        for Texas    Driver License      or Identification    Card DL14A

                                Application        for RenewalReplacementChange                  of a   Texas Driver License or

                                Identification       Card DL43



                         Links

                         ■
                                Do we have an example              of the    OAG documentation
                         ■
                                Application        Process    Policy   document

                         Peace Officer Alternative              Address

                         Peace Officer        Employing Agency Identification               Card Requirements

                         Federal or State          Judge     Alternative    Address

                         TDCJ    Inmate Address

                         TJJD    Offender Address




Application    Process                                                                                                         Page 19 of 47




                                                                                                                                               TEX0507524
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A federal   or state judge         or   a judges    spouse may elect to use the address of the courthouse               in   which the

judge works as the residence address on the face of                       his   or her driver license     DL andor identification
card   ID



                            TEx TRANSP CODE          ANN §521101            Personal Identification       Certificate

                            TEx TRANSP CODE          ANN §521121           General Information on Drivers License

                            TEx TRANSP CODE          ANN §521141           General Application      Requirements

                            TEx TRANSP CODE          ANN §521142 Application for Original License
                            TEx TRANSP CODE          ANN §5211425 Information Required to Be Furnished to
                                   Department



                            Relevant       rules

                            37 TEXAS ADMIN          CODE    §1524      Identification     of Applicants


                            37 TEXAS ADMIN          CODE    §1525      Address

                            37 TEXAS ADMIN          CODE    §1530      Identification     Certificates


                            37 TEXAS ADMIN          CODE    §15182       Identification    of Applicants     EICs



                            Other forms

                                   Application     for Texas    Driver License      or Identification     Card DL14A



                            Links

                            Application         Process    Policy document

                            Peace Officer Alternative           Address

                            Peace Officer         Employing Agency Identification           Card Requirements

                            Address Confidentiality Program

                            TDCJ    Inmate Address

                            TJJD   Offender Address




       4 Texas Department                                 of Criminal Justice                   Inmate Address


An inmate      in   the care of the Texas         Department         of Criminal Justice    may use the address of the
correctional        or parole   facility   in   which the inmate       resides as   the residence address on the face of        his   or


her driver license       DL andor identification              card    ID


                            TEx TRANSP CODE          ANN §521101            Personal Identification       Certificate

                            TEx TRANSP CODE          ANN §521121           General Information on Drivers License

                            TEX TRANSP CODE          ANN §521141           General Application      Requirements



Application     Process                                                                                                 Page 20 of 47




                                                                                                                                           TEX0507525
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                            TEX TRANSP CODE         ANN §5211421                   Inmate Identification         Verification       Pilot   Program
                            TEX TRANSP CODE         ANN §5211425                   Information      Required to Be Furnished to

                                   Department



                            Relevant     rules

                            37 TEXAS ADMIN        CODE       §1524           Identification     of Applicants


                            37 TEXAS ADMIN        CODE       §1525           Address

                            37 TEXAS ADMIN        CODE       §1530           Identification     Certificates


                            37 TEXAS ADMIN        CODE       §15182           Identification     of Applicants        EICs



                            Other forms

                                   Application   for Texas              Driver License    or Identification      Card DL14A



                            Links

                                   Should we     link   to   a   list    of the   addresses of correctional           facilities   or are there     too

                                   many
                                   Application    Process         Policy     document

                            TDCJ    Inmate Address

                            TJJD    Offender Address




    5 Texas Juvenile Justice Division                                                  Offender Address


The Texas Juvenile Justice Division TJJD                     brings offenders          to a driver license office         to apply for an

identification    card     before   they are released to a halfway house                       or guardian       A TJJD offender        applicant

must



    Use as the residence address the address of the halfway house                                  or appointed        guardian      AND

    Use as the mailing address the address of the TJJD                             facility   in which   the   offender     is   currently

    incarcerated




                            TEX TRANSP CODE         ANN §521101                   Personal Identification        Certificate

                            TEX TRANSP CODE         ANN §521121                   General Information on Drivers License

                            TEX TRANSP CODE         ANN §521141                   General Application          Requirements

                            TEX TRANSP CODE         ANN §521142                   Application    for Original     License

                            TEX TRANSP CODE         ANN §5211421                   Inmate Identification         Verification       Pilot   Program
                            TEX TRANSP CODE         ANN §5211425                   Information      Required     to   Be Furnished to

                                   Department



                            Relevant     rules

                            37 TEXAS ADMIN        CODE       §1524           Identification     of Applicants




Application      Process                                                                                                              Page 21 of 47




                                                                                                                                                          TEX0507526
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                           37 TEXAS ADMIN             CODE    §1530         Identification     Certificates


                           37 TEXAS ADMIN             CODE    §15182         Identification     of Applicants        EICs



                           Other forms

                                   Application        for Texas     Driver License      or Identification      Card DL14A



                           Links

                           Application         Process       Policy document

                           TDCJ        Inmate Address




I          nruan flnnatinn


An   applicant   for an original            renewal    or   replacement        driver license     DL or identification          card   ID who    is




at least   16 years old or an emancipated                    minor may indicate          that    he or she    is   willing to   donate organs

tissues    and eyes     upon     death       A minor may register            as   an organ donor      but a parent       will   make the final

decision    at the   time of an unemancipated                 minors death




An   imprint of a heart         will   appear on the face of a donors DL or ID



The Donate       Life   Texas    program       is   described      further   in   the English   and Spanish        language brochures and

posters that are required              to   be displayed      in   each driver     license office




                           Relevant          statutes

                           TEX TRANSP CODE             ANN §521401                Statement     of Gift

                           TEX TRANSP CODE             ANN §521402                Revocation    of Statement        of Gift




                           Relevant          rules




                           Other forms

                                   Application        for Texas     Driver License      or Identification      Card DL14A

                                   Application        for RenewalReplacementChange                    of a Texas Driver License or

                                   Identification       Card DL43




                                        ample of the heart on the DLID

                                        plication     Process      Policy    document

                                        shing Texas Residency

                           Application          Physical     Description


                           Application          Name
                           Voter Registration




Application      Process                                                                                                           Page 22 of 47




                                                                                                                                                      TEX0507527
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                              Application         Medical History

                              Application Signature

                              Application         Notarization


                              Application Taking           the   Oath




          1 Organ Donor Revocation

A license or identification           card       holder   who wishes      to   revoke   his   or her status as     an organ donor must




1 Apply       to   amend the card            paying the appropriate            replacement       fee   This   removes the heart symbol

     from the face of the card              AND

2    Direct   Donate        Life   Texas    in   writing to   remove him or her from the registry




                              TEX TRANSP CODE             ANN §521401          Statement       of Gift

                              TEX TRANSP CODE             ANN §521402          Revocation       of Statement       of Gift




                              Relevant       rules




                                       ample of the heart on the DLID

                                       plication      Process    Policy   document

                                       Donation




V        ntor QocTI ctrntllrl

An   applicant     for an original         renewal replacement            or modification        of a driver license     DL or
identification       card    ID may        apply to register to     vote at a driver license office           if   he or she is




     Eligible   to   vote    in    Texas

     A US citizen

     A Texas resident AND

     At least 17 years and 10 months of age




                              Relevant       statutes

                              TEX ELEC CODE          ANN §11002           Qualified     Voter

                              TEx ELEC CODE          ANN §20063           Registration    Procedures




Application        Process                                                                                                        Page 23 of 47




                                                                                                                                                  TEX0507528
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                               Other forms

                                      Application      for Texas      Driver License      or Identification      Card DL14A

                                      Application      for RenewalReplacementChange                       of a Texas Driver License or

                                      Identification      Card DL43



                               Links

                               Application         Process    Policy document


                               Establishing        Texas Residency

                               Application         Physical     Description


                               Application         Name

                               Organ Donation

                               Veteran Indicator

                               Application         Medical History

                               Application Signature

                               Application         Notarization


                               Application Taking             the   Oath




L         Veteran                Indicator


A US veteran        applicant        for   an original renewal replacement                    or modification    of   a   driver license   DL or
identification      card      ID may request that the card                   indicate   his   or her status as   a    veteran on the face of

the card    There        is   no charge for the service             itself   but the    veteran    must pay the applicable            fee for the


new card      If   the   veteran maintains            both a DL and ID the Driver License                  System DLS         will   automatically


update both but he or she must either                        1 pay both        applicable       fees or   2 surrender the other           card


rather   than updating          it




Qualifications           A veteran         seeking to qualify for this         program        must



1    Have   received          an honorable         or general       discharge    AND
2    Present either an original               or   copy   of one of the following             documents     which reflects an honorable              or


     general       discharge

          DD214

          DD215

          NGB22
          US Department               of Veteran      Affairs   disability     letter




                               TEX TRANSP CODE            ANN §5211235 Designator on License                      Issued     to   Veteran

                               TEx TRANSP CODE            ANN §521142 Application for Original                    License



                               Other forms



Application        Process                                                                                                             Page 24 of 47




                                                                                                                                                          TEX0507529
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                                Application       for Texas      Driver License     or Identification      Card DL14A

                                Application       for RenewalReplacementChange                     of a Texas Driver License or

                                Identification       Card DL43



                            Links

                                Image of card with veteran indicator

                                Application         Process   Policy    document

                            Establishing Texas Residency


                            Application     Physical       Description


                            Application     Name

                            Organ Donation

                            Voter Registration

                            Application     Medical History

                            Application Signature

                            Application     Notarization


                            Application Taking         the    Oath




M          Application                   Medical             History


An    applicant   for an original   or    renewal driver license must indicate whether                  he or she has any medical

conditions    that   may affect     the   ability    to safely   operate    a    motor vehicle




If   the applicant   notes a   medical condition           or psychiatric       disorder   that   may meet the        ria


                                            he or she must complete              the   Supplemental Medical       History


Information       DL45 form         If   such   an applicant      is
                                                                       younger    than 18 a parent or guardian        must also sign

and date the       DL45




                            TEx TRANSP CODE          ANN §521142           Application      for Original   License

                            TEx TRANSP CODE          ANN §521294           Departments Determination             for License

                                Revocation

                            TEx TRANSP CODE          ANN §521319           Revocation      for    Medical Reasons



                            Relevant      rules

                            37 TEXAS ADMIN          CODE   §1537        Medical History QuestionsOriginal            and Renewal



                            Other forms

                                Application       for Texas      Driver License     or Identification      Card DL14A

                                Application       for RenewalReplacementChange                     of a Texas Driver License or

                                Identification       Card DL43




Application       Process                                                                                                   Page 25 of 47




                                                                                                                                            TEX0507530
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                             Establishing          Texas Residency

                             Application           Physical    Description


                             Application           Name

                             Organ Donation

                             Voter Registration

                             Veteran Indicator

                             Application Signature

                             Application           Notarization


                             Application Taking               the   Oath




N          Application                    Signature


An    applicant   for a driver license             identification      card    or election     identification     certificate   must sign the

application     in   dark ink with       his   or her usual         signature



Applicant for a driver license                 under the age of 18




If   the applicant    is
                           younger than 18 years old either                    1     a custodial   parent or guardian        must also sign a

driver license       application    or   2 the        applicant      must present evidence showing

                                   Parental         authorization       may be                      at any time for good        cause



If   the applicant does not have               a   guardian either         1   his   or her employer or         2 the county judge      of the


county    in   which the applicant         resides       may sign



                             Relevant      statutes

                             TEx TRANSP CODE            ANN §521101                Personal Identification        Certificate

                             TEX TRANSP CODE            ANN §521121               General Information on Drivers License

                             TEx TRANSP CODE            ANN §521141               General Application        Requirements

                             TEx TRANSP CODE            ANN §521142               Application      for Original    License

                             TEX TRANSP CODE            ANN §5211425                 Information     Required to Be Furnished to

                                   Department

                             TEX TRANSP CODE            ANN §521145               Application      by   Person under 18 Years of Age



                             Relevant      rules

                             37 TEXAS ADMIN            CODE     §1524         Identification    of Applicants


                             37 TEXAS ADMIN            CODE     §1527         Signature    by Parent or Guardian for a Driver License

                             37 TEXAS ADMIN            CODE     §1530         Identification    Certificates




                             Other forms

                                   Application        for Texas       Driver License      or Identification       Card DL14A



Application       Process                                                                                                          Page 26 of 47




                                                                                                                                                   TEX0507531
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                                    Application         for Texas    Election Certificate    DL14C

                               Links

                               Application        Process      Policy document


                               Establishing       Texas Residency

                               Application        Physical     Description


                               Application        Name

                               Organ Donation

                               Voter Registration

                               Veteran Indicator

                               Application        Medical History

                               Application        Notarization


                               Application Taking            the   Oath




              1 Annlication                       Waiver            of Parental Authorization


An   applicant      under the age of 18 for a driver license or identification                     card   may waive   parental

authorization        if   he or she     1   is   or has    been    married or   2   is   emancipated      Such an applicant      must prove

eligibility   by presenting one of the following documents




     A marriage           certificate   or divorce        decree but not an annulment           decree OR

     A court order reflecting              the    minors emancipation




                               Relevant      statutes

                               TEX TRANSP CODE            ANN §521145         Application     by   Person under 18 Years of Age



                               Relevant      rules

                               37 TEXAS ADMIN           CODE    §1527     Signature      by Parent or Guardian for a Driver License



                               Links

                               Application        Process      Policy document


                               Application Signature

                               WithdrawalRestoration                of Parental Authorization




              2 WithdrawalRestoration                                        of Parental Authorization


Parental authorization             for a    minors driver license may be withdrawn                 at any time for good    cause

resulting     in   cancellation     of the       card     A request   to either   withdraw or restore parental authorization

must be in writing and be notarized




Application        Process                                                                                                  Page 27 of 47




                                                                                                                                              TEX0507532
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                           TEX TRANSP CODE              ANN §521145              Application     by   Person under 18 Years of Age



                           Relevant       rules

                           37 TEXAS ADMIN          CODE     §1527         Signature      by Parent or Guardian for a Driver License




                           Other forms

                           ■
                                 WithdrawalRestoral               of Authorization           for Minors License        DIC62
                           ■
                                 Request       to Restore Authorization to Minors                     License   DIC107


                           Links

                           Application       Process      Policy document


                           Application Signature

                           Application Waiver             of Parental Authorization




0           Application                  Notarization


An   application    for an original       driver   license or identification             card   must be notarized within 6 months              of


the date of application          In    addition    to   an authorized           driver license    office   employee the following

officials   may serve     as notary      under the stated circumstances




1 Within the        state of Texas         must include the state seal

            Judge   clerk or commissioner               of any court      of record


            Notary public

            Justice of the     peace




2 Another US           state or territory         must include      a     seal


            Clerk of any court         of record   having    a seal


            Commissioner of deeds              duly     appointed     under the laws of the state

            Notary public




3 Outside the US and             its   territories       must include       a    seal


            Minister commissioner            or charge daffaires of the                 US   resident    and accredited    to the   country

            where   the   oath affidavit       or affirmation        is   made

            Consul general vice consul             commercial         agent vicecommercial agent deputy consul                      or

            consular    agent of the      US    resident     in   the country where             the   oath affidavit   or affirmation    is   made

            Notary public




4 For a member of the armed forces spouse                           or dependent             no seal required




Application     Process                                                                                                         Page 28 of 47




                                                                                                                                                     TEX0507533
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            Commissioned       officer   of the    US armed forces




                           TEX TRANSP CODE         ANN §521101          Personal Identification         Certificate

                           TEx TRANSP CODE         ANN §521121          General Information on Drivers License

                           TEX TRANSP CODE         ANN §521141          General Application         Requirements

                           TEx TRANSP CODE         ANN §521142          Application      for Original   License

                           TEX TRANSP CODE         ANN §5211425           Information      Required to Be Furnished to

                                Department

                           TEx TRANSP CODE         ANN §521145          Application      by   Person under 18 Years of Age



                           Relevant      rules

                           37 TEXAS ADMIN         CODE    §1522     Notarizations


                           37 TEXAS ADMIN         CODE    §1524     Identification     of Applicants


                           37 TEXAS ADMIN         CODE    §1530     Identification     Certificates




                           Other forms

                                Application       for Texas   Driver License     or Identification      Card DL14A

                                Application       for Texas   Election Certificate      DL14C

                           LIf1K5

                           Application     Process       Policy document


                           Establishing    Texas Residency

                           Application     Physical      Description


                           Application     Name

                           Organ Donation

                           Voter Registration

                           Veteran Indicator

                           Application     Medical History

                           Application Signature

                           Application Taking         the   Oath




P           Application               Taking the Oath


An   applicant   for an original    driver license        or identification    card   must raise his or her right hand   and

swear or affirm that the information on the application                   is   true   and correct




     If
          applicable   an authorizing      parent    must also take the oath

     An applicant may not wear            a hat while taking the        oath




Application      Process                                                                                              Page 29 of 47




                                                                                                                                      TEX0507534
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                             TEx TRANSP CODE         ANN §521454         False   Application



                             Relevant     rules




                             Other forms

                                 Application      for Texas    Driver License     or Identification    Card DL14A

                                 Application      for Texas    Election Certificate    DL14C

                             Links

                             Application    Process     Policy document


                             Establishing    Texas Residency

                             Application     Physical   Description


                             Application     Name

                             Organ Donation

                             Voter Registration

                             Veteran Indicator

                             Application     Medical History

                             Application Signature

                             Application     Notarization




Q           Original           License Generally


     An applicant who has never had a Texas                   driver license     must apply for an original driver license

     If   an applicants      Texas    driver license has      been   expired   for more   than 2 years he or she must apply

     for an original        license   and pass all   required   examinations       unless the                       is




     appropriate



An   original    driver license      can be a




          ever   license


          3rner license


          visional    license


          rdship    license


          mmercial driver license

          torcycle    license




                             Relevant     statutes

                             TEx TRANSP CODE         ANN §521141        General Application       Requirements

                             TEx TRANSP CODE         ANN §521142        Application     for Original   License




Application       Process                                                                                           Page 30 of 47




                                                                                                                                    TEX0507535
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                               Other forms

                                   Application        for Texas     Driver License      or Identification          Card     DL14A
                                   Supplemental          Examination         DL40

                               LInKS

                               Application        Process    Policy document

                               Whatever       we end up calling the           military exception           topic

                               Original   License Requirements

                               Original   Identification       Card Requirements

                               Original   Election Identification            Certificate

                               LicenseID         Renewal     Generally

                               Replacement          License Generally

                               Modification         of License




R         Original               License              Requirements


An   applicant         for an original    license    must



     Apply    in       person at a Texas         driver license office


     Complete           the Application for Texas            Driver License        or Identification        Card     DL14A
     Present and surrender               any valid     licenses      issued       by another   state or      country      with            License


                                    OR submit a Receipt for Surrendered                      License       DL2
     Present       documentation          sufficient    to   prove

     Present       documentation          sufficient    to verify the applicants                             ity     num
     Present       documentation          sufficient    to   prove either                             or      dful   pre1


     Present       documentation          sufficient    to   prove

     Pay the

     Pass the


     Pass the                               if    required    AND
     Pass the                     not required         for issuance     of    a   learner   license

     Only    if    a   new Texas resident           present either

          1        Proof of Texas        vehicle     registration    AND evidence           of financial     responsibility for each vehicle

                   owned by the applicant OR

          2 A statement             affirming that          the applicant does not own            a    motor vehicle




An applicant           aged 15 to 24 must ALSO



     Present the          completed                                                                            applicable        to the   type of

     driver education           course taken




An applicant           aged 15 to 17 must ALSO



Application        Process                                                                                                            Page 31 of 47




                                                                                                                                                      TEX0507536
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    Be accompanied          by   a   parent or legal guardian or bring the notarized application                           signed   by the

    parent or guardian           AND
    Present     either

    1 A       high school   diploma          or   its
                                                        equivalent    OR

    2 EITHER a
                Verification         of Enrollment and Attendance                   CDD104 form OR
                Letter   with the same information as the                     CDD104        if   the student    is   home schooled




                          TEx TRANSP CODE                ANN §521141           General Application             Requirements

                          TEX TRANSP CODE                ANN §521142           Application         for Original      License

                          TEx TRANSP CODE                ANN §5211425            Information         Required to Be Furnished to

                                 Department

                          TEx TRANSP CODE                ANN §5211426 Domicile Requirement Verification
                          TEx TRANSP CODE                ANN §521144 Application by New State Resident
                          TEx TRANSP CODE                ANN §521145 Application by Person under 18 Years of Age
                          TEx TRANSP CODE                ANN §5211601 Driver Education Required
                          TEX TRANSP CODE                ANN § 521204          Restrictions        on Minor



                          Relevant          rules

                          37 TEXAS ADMIN                CODE    §155 Learner License
                          37 TEXAS ADMIN                CODE    §1528      Minors Restricted          Driver    License   Application

                          37 TEXAS ADMIN                CODE    §1524      Identification        of Applicants


                          37 TEXAS ADMIN                CODE    §1525      Address

                          37 TEXAS ADMIN                CODE    §1527      Signature      by Parent or Guardian for a Driver License

                          37 TEXAS ADMIN                CODE    §   1529   Driver   Education Forms

                          37 TEXAS ADMIN                CODE    §1539      Verification     of Enrollment and          Attendance

                          37 TEXAS ADMIN                CODE    §1542      Social   Security      Number
                          37 TEXAS ADMIN                CODE    §1546      Citizenship      Status    and County of Residence

                          37 TEXAS ADMIN                CODE    §1549      Proof of Domicile

                          37 TEXAS ADMIN                CODE    §1555 Waiver        of Knowledge         andor Skills      Tests

                          37 TEXAS ADMIN                CODE    §182    Required Documentation                 and Application      Fee

                          37 TEXAS ADMIN                CODE    §1823      Application     for a Learner License

                          37 TEXAS ADMIN                CODE    §1825 Obtaining           Provisional    License




                          Other forms

                                 Application            for Texas    Driver License       or Identification       Card    DL14A
                                 Supplemental             Examination        DL40



                                      2s


                                      tion Process             Policy document

                          Original         License Generally



Application     Process                                                                                                             Page 32 of 47




                                                                                                                                                    TEX0507537
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                              Original    Election Identification        Certificate

                              LicenseID      Renewal       Generally

                              Replacement       License Generally

                              Modification     of License




S             Original          Identification                 Card Requirements

An   applicant      for an original      identification     card   must



     Apply     in   person at a Texas       driver license office


     Complete         the Application for Texas            Driver License     or identification       Card   DL14A
     Present        documentation        sufficient   to   prove

     Present        documentation        sufficient   to   prove either                          or


     Present        documentation        sufficient   to   prove                           AND

     Pay the



An   applicant      may   present     documentation         sufficient    to verify the applicants                              but


doing so      is   optional




                              TEX TRANSP CODE         ANN §521141            General Application        Requirements

                              TEX TRANSP CODE         ANN §521142            Application    for Original     License

                              TEX TRANSP CODE         ANN §5211425            Information     Required to Be Furnished to

                                  Department



                              Relevant     rules

                              37 TEXAS ADMIN       CODE     §1524        Identification    of Applicants


                              37 TEXAS ADMIN       CODE     §1530        Identification    Certificates




                              Links

                              Application     Process      Policy document

                              Original    License Generally

                              Original    License Requirements

                              Original    Election Identification        Certificate

                              LicenseID      Renewal       Generally




T             Original          Election           Identification                 Certificate                Requirements


Eligibility




Application         Process                                                                                            Page 33 of 47




                                                                                                                                       TEX0507538
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To be eligible for an election identification                         certificate          an applicant    must be




     A US citizen

     A Texas resident

     17 years and 10 months or older AND

     Eligible   to    vote    in   Texas    AND either

     1     Present      a   valid voter      registration            card   OR

     2 Submit          a voter         registration application              to the    department



A holder      of a Texas      driver license          Texas         identification         card   US military identification        card    US citizenship

certificate    containing          a   photograph unexpired                  US passport or concealed              handgun    license      is
                                                                                                                                                ineligible   for


an election identification               certificate      if   the   document         is   unexpired      or has   been   expired   less   than 60 days




Requirements



An   applicant      for an original        election       identification         certificate       must



     Be eligible

     Apply     in   person at a Texas          driver license office


     Complete         the application         in   its
                                                         entirety

     Present        documentation           sufficient         to   prove

     Present        documentation           sufficient         to   prove either                             AND
     Either


     1     Present      documentation              sufficient        to   prove Texas voter registration              OR

     2     Register to        vote




                              Relevant        statutes

                              TEX TRANSP CODE                  ANN §521a         Election Identification           Certificate




                              Relevant        rules

                              37 TEXAS ADMIN              CODE       §15182       Identification          of Applicants    EICs



                              Other forms

                              Application          for   Texas Election Certificate                DL14C

                              Links

                              Application          Process          Policy document


                              Original      License Generally

                              Original      License Requirements

                              Original      Identification            Card




Application         Process                                                                                                                     Page 34 of 47




                                                                                                                                                                   TEX0507539
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An   eligible     driver licenseidentification              card   holder     may renew the           card    through       any of the following

methods



                      at a driver license office




     By mail address on application

                             at 866DL      RENEW     8663573639




Renewal period



     A license holder may renew                his   or her driver license           up to    1   year prior to or 2 years after               its




     expiration       date

     A provisional          license holder     may renew           his   or her driver       license   up to 30 days          prior to   its
                                                                                                                                               expiration

     A license holder who is             registered    as a sex          offender    may renew         his   or her driver license          up to 60

     days        before   its   expiration




Occupational         license      holder




An   occupational         license that     has not    been     expired       for   more than two            years bridges the       gap    in   the

interim     if   the regular license that was suspended                     revoked or disqualified             has       been expired for more

than two years            The    holder of an   occupational             license that    has not       been    expired      for   more than two

years therefore            may apply for a renewal             instead of an original             license    when     his   or her regular           license


becomes eligible again




                                TEx TRANSP CODE        ANN §521101                 Personal Identification            Certificate

                                TEx TRANSP CODE        ANN §521103                 Expiration      and Renewal            Requirements         for Certain

                                    Sex Offenders

                                TEX TRANSP CODE        ANN §521104                 Renewal        by Mail or Electronic Means
                                TEx TRANSP CODE        ANN §521141                 General Application          Requirements

                                TEx TRANSP CODE        ANN §521142                 Application       for Original         License

                                TEX TRANSP CODE        ANN §521271                 License    Expiration

                                TEx TRANSP CODE        ANN §5212711                 License       Expiration     Person at Least 85 Years of

                                    Age
                                TEx TRANSP CODE        ANN §521272                 Renewal        of License    Issued      to Certain    Sex

                                    Offenders

                                TEx TRANSP CODE        ANN §521274                 Renewal        by Mail or Electronic Means




                                    TA
Application
                                Relevant     rules

                                7                       r     AI C   2                       n+             rirI      I




                    Process                                                                                                                Page 35 of 47




                                                                                                                                                               TEX0507540
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                                 Extended by Military Service

                           37 TEXAS ADMIN              CODE    §1534        Renewal     Period Prior to Expiration


                           37 TExas ADMIN              CODE    §1535        Renewal     of a   Texas Driver     License     Expired     over Two

                                 Years


                           37 TExas ADMIN              CODE    §1559        Alternate      Methods     for Driver   License      Transactions




                           Other forms

                                                                                                           of a Texas Driver License or
                           ■
                                 Application          for RenewalReplacementChange

                                 Identification          Card DL43



                           Links

                           Application          Process       Policy document


                           Original License Requirements

                           Original       Identification           Card Requirements
                           LicenseID            Renewal       In   Person

                           LicenseID            Renewal       Online      and Telephone

                           License    RenewalExpiration                    Military

                           License    Renewal OutofState
                           Replacement            License Generally

                           Modification          of License




                1 LicenseID Renewal                                         In   Person


A non                  applicant   for a        renewal       license or identification        card   must




DL43
    Complete      the Application for RenewalReplacementChange                                   of a Texas Driver License            or

    Identification        Card

    Present     one piece of                                         or                 documentation          sufficient   to   prove identity

    Present     documentation         sufficient        to    prove either                            or                         ONLY    IF


          o     US citizenship       was not          previously        established   OR

          o     Lawful    presence        has    expired

    Pay   the                         AND
    Driver      license   only pass the




A provisional license holder who                 is
                                                      younger       than 17 years and 11 months old must also present EITHER



    A high    school    diploma      or   its   equivalent         OR

    A completed        Verification        of Enrollment and Attendance                    CDD104




Application     Process                                                                                                             Page 36 of 47




                                                                                                                                                    TEX0507541
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                              TEx TRANSP CODE                ANN §521141                 General Application           Requirements

                              TEx TRANSP CODE                ANN §521142                 Application        for Original   License



                              Relevant        rules

                              37 TEXAS ADMIN                CODE    §1559             Alternate    Methods      for Driver   License     Transactions




                                        es


                                        3tion Process              Policy document

                              Original       License Requirements

                              Original       Identification          Card Requirements
                              LicenseID           Renewal          Generally

                              LicenseID           Renewal          Online        and Telephone

                              License    RenewalExpiration                       Military

                              License    Renewal OutofState

                              Replacement           License Generally

                              Modification         of License




                   2 LicenseID                       Renewal Online and Telephone

A driver license          DLidentification card                ID holder may apply for a renewal                        online or    by telephone   ONLY

IF the   applicant



    Renewed          in   person at a driver license office                      in   the previous

    Holds      a   Class   C or CM DL Class              A B and commercial                 DLs cannot be renewed            online or     by   phone
    Holds      a   card    that expires      in   less   than one year or has not been                       expired   for 2 years or     more

    Is   at least    18 years of age and the DL is not                                            or a


    Is
         younger than 79 years of age

    Has not experienced            a    change         in   vision or physical or            mental condition

    Holds      a   license that has      not      been       suspended or revoked and carries no warrants                           or   unpaid tickets

    Has a Social Security number                   already         on file

    Is   a   US citizen      AND

    Pays the appropriate




                              TEx TRANSP CODE                ANN §521104                 Renewal         by Mail or Electronic Means



                              Relevant        rules

                              37 TEXAS ADMIN                CODE    §1531             OutofState         Renewals



                                                                                      QI
                              37 TEXAS ADMIN                CODE    §1532             Expiration   Date on Expired License

                              27 TVAC        Annnini        Fnnc    Al r   2fl                    Dorinrl    Drinr to Fvr•ir•+inn




Application        Process                                                                                                                  Page 37 of 47




                                                                                                                                                            TEX0507542
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                                       2S


                                       plication     Process       Policy   document

                             iaentity

                             Lawful    presence

                             Original       License Requirements

                             Original       Identification        Card Requirements
                             LicenseID         Renewal       Generally

                             LicenseID         Renewal       In   Person

                             License    RenewalExpiration              Military

                             License    Renewal        OutofState

                             Replacement           License Generally

                             Modification         of License




                 3 License                  RenewalExpiration                              Military



Driver license     issuance




An   applicant    with   a valid    US military license seeking              a   Texas driver license for the same or lower class

license   must take the vision test and pay the fee but does not have to take the                          skills   or   knowledge   tests




Expiration




The otherwise       valid    Texas driver license            DL of a member of the armed forces does not expire while the
person    is   absent from the state for military service                   until   the earlier of




1 90 days from the date                of   his   or her discharge      OR

2 The date        of   his   or her return        to the   state




Renewal



A military applicant         to   renew a DL whose expiration                date has been     extended   more than 2 years beyond

the normal date must present




1 The extended DL AND
2          EITHER
     Proof of                separation        from military service OR active duty status




Residency




Application      Process                                                                                                    Page 38 of 47




                                                                                                                                             TEX0507543
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A member of the armed forces who                   holds       a   Texas driver license      DL based on a Texas residence
established        prior to leaving the state with the               military   may use a residence           outside the state for the


purpose of license renewal



                              Relevant    statutes

                              TEx TRANSP CODE        ANN §521028                Effect   of Military Service     on License   Requirement

                              TEx TRANSP CODE        ANN §521141                General Application       Requirements

                              TEx TRANSP CODE        ANN §521274                Renewal     by Mail or Electronic Means



                              Relevant    rules

                              37 TEXAS ADMIN       CODE    §1531            OutofState       Renewals

                              37 TEXAS ADMIN       CODE    §1533            Renewal      of Texas   License   with Validity Period


                                  Extended by Military Service




                              Other forms

                              ■
                                  Application      for RenewalReplacementChange                        of a Texas Driver License or

                                  Identification     Card DL43



                              Links

                              Application    Process      Policy document


                              Original   License Requirements

                              Original   Identification        Card Requirements
                              LicenseID     Renewal       Generally

                              LicenseID     Renewal       In       Person

                              LicenseID     Renewal       Online       and Telephone

                              License    Renewal OutofState

                              Replacement      License Generally

                              Modification    of License




       DL43
                   4 License              Renewal OutofState

An     eligible   driver license holder      who    is   out of state may renew             his   or her license   by mail upon submitting

all   of the    requirement documentation                below



       Proof of Texas        residence

       Out of StateCountry            Application        RIS50
       Application for RenewalReplacementChange                               of a Texas Driver License         or Identification   Card




       Explanation      for Eye Specialist      DL63
       Social     Security   number

       Proof of lawful       status



Application        Process                                                                                                     Page 39 of 47




                                                                                                                                               TEX0507544
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     Federally issued identification                credentials


     Deployment        order

     The appropriate

     If   renewing    Class        A or B noncommercial           driver license           Vehicle   Exemption          Certification   CDL2
     AND
     Active     duty military personnel              whose    driver license     has   been    expired      for more      than 2 years must

     also submit an Application for Texas                    Driver License      or Identification          Card DL14A             to reestablish


     the license      Military       spouses dependents            and other government                  employees       may not reestablish         if




     the license has expired              They      must apply for an original license




Eligibility




                                                      Scenario                                                            Eligible      Ineligible


   Employed by a corporation                 with a direct contract with the federal
                                                                                                                               X
   government        and possesses           a   deployment order and federally issued

   credentials


   Actively     serving    in   the armed forces their spouses and dependents

   possessing a driver license               based    on an established        Texas residence             May                 X

   or   may not have           a Texas   residence

   Moved out of state for employment and                        has   maintained       a   Texas residence                     X

   Retired      from the armed forces and has maintained                     a   Texas      residence                          X

   Persons      retired    from the armed forces who have                  not   maintained          a   Texas
                                                                                                                                            X
   residence

   Moved out of state for nonfederal                    or   nonmilitary employment and has
                                                                                                                                            X
   not    maintained       a   Texas address

   Employed by a corporation                 that    has a   subcontract    with the federal

   government        without a deployment order or federal                     issued credentials           and                X

   have       maintained       a Texas   residence

   Employed by a corporation                 with a subcontract        with the federal

   government without a deployment order or federal                              issued credentials          and                            X

   has    not   maintained         a Texas    residence




                               Relevant      statutes

                               TEx TRANSP CODE         ANN §521028           Effect    of Military Service             on License    Requirement

                               TEx TRANSP CODE         ANN §521141          General Application              Requirements

                               TEx TRANSP CODE         ANN §521274           Renewal         by Mail or Electronic Means



                               Relevant      rules




                                                                                                                                        T
                               37 TEXAS ADMIN         CODE    §1531     OutofState            Renewals

                               37 TEXAS ADMIN         CODE    §1533     Renewal        of Texas      License     with Validity Period




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                                    Extended by Military Service

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Application      Process                                                                                                               Page 40 of 47




                                                                                                                                                          TEX0507545
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                               Other authority

                               S 475111th            Congress       Military   Spouses    Residency   Relief Act     2009

                               Links

                               Application         Process    Policy document


                               Original      License Requirements

                               Original      Identification        Card Requirements
                               LicenseID          Renewal     Generally

                               LicenseID          Renewal     In   Person

                               LicenseID          Renewal     Online      and Telephone

                               License       RenewalExpiration             Military

                               Replacement           License Generally

                               Modification         of License




V          Replacement License Generally

A replacement           driver license or identification             card   transaction    occurs   when   the holder    changes   personal

information outside of the               renewal      period



An    applicant   must apply for             a   replacement       driver license     DL or identification    card   ID within 30 days if


1 Any      of the following          changes

                  Name

                  Address OR

                  Gender

2 The      card    is   lost   destroyed marred or mutilated                   OR

3 The      holder       has an   outofstate           nophoto        license   and returns to Texas before or after the 45 day

       expiration




If   the applicant      holds both       a   DL and ID the Driver License             System DLS automatically          updates both and
the applicant      must either



1 Pay      the applicable                for a     replacement       of   both OR

2 Surrender one             of the     cards



                               Keievant          statutes

                               TEX TRANSP CODE          ANN §521054             Notice of Change      of Address or     Name
                               TEx TRANSP CODE          ANN §521101             Personal Identification      Certificate

                               TEx TRANSP CODE          ANN §5211425             Information     Required to be Furnished to




Application       Process                                                                                                    Page 41 of 47




                                                                                                                                              TEX0507546
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                             TEx TRANSP CODE         ANN §522032                   Change       of   Name or Address of License                 or   Permit

                                   Holder Offense



                             Relevant    rules

                             37 TEXAS ADMIN         CODE    §1536          Applications          for Duplicates           and Corrections

                             37 TEXAS ADMIN         CODE    §1677          Duplicates



                             Other forms

                             ■
                                   Application      for RenewalReplacementChange                              of a Texas Driver License or

                                   Identification     Card DL43



                             Links

                             Application    Process        Policy document


                             Replacement       License Requirements

                             Replacement       License       Name Change
                             Original   License Generally

                             Original   License Requirements

                             LicenseID      Renewal         Generally

                             Modification     of License




W         Replacement License Requirements

An   applicant   for a   replacement        driver license or identification                    card    must



     Complete        the Application for RenewalReplacementChange                                      of a Texas Driver License               or

     Identification      Card      DL43
     Present     one piece of documentation                 sufficient        to   prove

     Present     documentation          sufficient   to    prove       either                            or                             ONLY     IF the



     applicant       has not previously      established             US citizenship        OR

     Pay the

     Present     documentation          verifying    the applicants                former and new names                  if   applicable      AND

     Present     a   court   order if the applicant         is   a   victim    of domestic           abuse    and   is
                                                                                                                         changing       his   or her card

     number andor personal information



                             Relevant    statutes

                             TEX TRANSP CODE         ANN §521054                    Notice of Change          of Address or         Name
                             TEx TRANSP CODE         ANN §521101                    Personal Identification              Certificate

                             TEX TRANSP CODE         ANN §521141                   General Application              Requirements

                             TEx TRANSP CODE         ANN §5211425                    Information         Required to Be Furnished to

                                   Department

                             TEx TRANSP CODE         ANN §521146                   Application         for Duplicate          License   or Certificate

                             TFY   TRANSP    CnnW    ANNJ    6 571       775       Chanaa       of nrivars     I   iransa or Parcnnal




Application      Process                                                                                                                       Page 42 of 47




                                                                                                                                                               TEX0507547
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                            Relevant      rules

                            37 TEXAS ADMIN           CODE    §1536      Applications   for Duplicates     and Corrections

                            37 TEXAS ADMIN           CODE    §1677      Duplicates




                                    es


                                    3tion   Process         Policy document


                            Replacement        License Generally

                            Replacement        License        Name Change
                            Original     License Generally

                            Original     License Requirements

                            LicenseID       Renewal         Generally

                            Modification       of License




                 1 Replacement License Name Change

A driver license     or identification        card    holder    seeking to change      his   or her   name must apply for a

replacement       card    and   provide    documentation          of the   new name The following are valid reasons for

changing the      name



     Marriage

     Divorce


     Annulment

     Death      of spouse


     Court order verifying         name change

           o     Personal choice


           o     Victim    of domestic      abuse

           o     Gender change




An   applicant    may choose      to   keep    her current       married name revert to her maiden name or adopt a

previous       husbands     name


                            Relevant      statutes

                            TEX TRANSP CODE           ANN §521054          Notice of Change        of Address or   Name
                            TEx TRANSP CODE           ANN §521101          Personal Identification       Certificate

                            TEx TRANSP CODE           ANN §521141 General Application Requirements
                            TEx TRANSP CODE           ANN §5211425 Information Required to Be Furnished to
                                 Department
                            TEx TRANSP CODE           ANN §521146          Application       for Duplicate   License   or Certificate




Application      Process                                                                                                   Page 43 of 47




                                                                                                                                           TEX0507548
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                          37 TEXAS ADMIN         CODE    §1536       Applications   for Duplicates        and Corrections

                          37 TEXAS ADMIN         CODE    §1677       Duplicates



                          Other forms

                          ■
                                Application      for RenewalReplacementChange                    of a Texas Driver License or

                                Identification     Card DL43




                                   es


                                   3tion Process        Policy document


                          Replacement        License Generally

                          Replacement        License Requirements

                          Original      License Generally

                          Original      License Requirements

                          LicenseID       Renewal       Generally

                          Modification       of License




X        Modification of License


A modification    of driver license        may occur      outside    the renewal     period      with




    A change     in   license                                         OR

    An                               in   class of license




Requirements



To modify a driver license an applicant                must




DL43Complete     the Application for RenewalReplacementChange                              of a Texas Driver License      or

    Identification      Card

    Present    one piece of documentation               sufficient   to   prove

    Present    documentation         sufficient   to            either                                  o0 nr        ONLY   IF
                                                        prove                               or


    1 The      applicant      has not previously        established       US citizenship   OR

    2 The      applicants       lawful    presence has expired

    Pay the




                          TEX TRANSP CODE         ANN §521146             Application   for Duplicate      License   or Certificate




Application   Process                                                                                                    Page 44 of 47




                                                                                                                                         TEX0507549
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                         37 TEXAS ADMIN         CODE    §1677          Duplicates




                                  a

                               Supplemental         Examination         DL40
                               Texas DL Renewal              Duplicate    License    DL43
                               Supplement Application             CDL1
                               Examination         Report     CDL40
                                  ition   Process      Policy document

                         Replacement         License Generally

                         Original     License Generally

                         Original     License Requirements

                         LicenseID        Renewal       Generally

                         Restrictions     and Endorsements

                         Advance       or Addition      in   License    Class




                         TAG Advance          in   grade




               1     Qnr+ri•+inrc                  rr4 Crrlnrcnrr•nr•r


Restrictions   and endorsements           change     the circumstances           under which an individual           may operate      a


motor vehicle       Depending on       the   type   of endorsement              an applicant        may be required   to provide

additional    information      complete      a separate       application       or pass   a   test specific to the   type of

endorsement        sought



Restrictions   and endorsements           may relate to



    The type of motor vehicle the license holder may drive

    A special mechanical        control      required    on the vehicle

    A special mechanical        control      required    on the driver such as an artificial               limb

    A restricted area       location    or   road on which the applicant             may drive

    A restricted time of day during which               the applicant       may drive          or


    Any other      condition   imposed to ensure safe driving




                         Relevant      statutes

                         TEX TRANSP CODE           ANN §521221            Imposition          of Special   Restrictions   and

                               Endorsements

                         TEX TRANSP CODE           ANN §521224            Restricted      Class     M License


                         Relevant      rules




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                        37 TEXAS ADMIN         CODE   §1677          Duplicates




                            Supplemental         Examination          DL40
                            Texas DL Renewal               Duplicate      License     DL43
                            Supplement Application              CDL1
                            Examination         Report      CDL40
                            httpwwwtxdpsstatetxusDriverLicenseendrsRestrictionshtm




                        Replacement         License Generally

                        Original   License Generally

                        Original   License Requirements

                        LicenseID      Renewal        Generally

                        Modification        of License

                        Advance     or Addition       in   License    Class




              2 Advance               or Addition                    in   License             Class


A license   holder   may change     to a class of license permitting the operation                   of a different class of vehicle




                        TEX TRANSP CODE         ANN §521161               Examination         of License   Applicants

                        TEX TRANSP CODE         ANN §521421               License     Feeds Examination        Fees

                        TEX TRANSP CODE         ANN §522029               Fees



                        Relevant     rules

                        37 TEXAS ADMIN         CODE   §1560          Advance     in   Class   License




                            httpwwwtxdpsstatetxusDriverLicenseendrsRestrictionshtm




                                   class    policy   not done yet

                        Relevant    CDL policies not done yet

                        Replacement         License Generally

                        Original   License Generally

                        Original   License Requirements

                        LicenseID      Renewal        Generally

                        Modification        of License

                        Restrictions       and Endorsements




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Definitions




Deployment order a document                            from a federal        agency       directing   the license holder to       a    location    outside


Texas



Federally        issued    credentials an identification                    card   issued to    all   federal    employees including

contractors        who     provide       a   direct service            to the federal      government       These credentials          will   include    a



photograph         of the    employee            and may include            a   computer      microchip



Members of the armed forces                           active    duty      National   Guard or reserve members                 of the   armed forces

including    active       federal    civil    service         members and their spouses and dependents


Residential        addressresidenceresidency                            for a   noncommercial           driver   license    holder     a   residential


address     is   the   address      legal       description        or physical description            of the place   a     person normally resides

resides the       majority of the            time or returns to after periods of temporary absence



Temporary          visitor    a person          who      is    not a   US citizen US national lawful permanent                   resident refugee or

asylee




TAGS


    Where replacement                        license     is    used     also tag for   duplicate



    Where knowledge                      test    is   used      tag for    written


    Where skills             test   is
                                         used         tag for driving       and    road




    Where hardship                  license       is   used      tag for   minors restricted          DL




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